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 W DMI Corporate Disclosure Statement pursuant to Fed. R. Civ. P. 7.1 or Fed. R. Crim. P. 12.4 (4/06)




                                             UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF MICHIGAN

MDV Photo LLC

                        Plaintiff(s),                                            Case No.

 v.
124 Grand Holdings, Inc. d/b/a Stikwood, Wayfair
LLC, WAL-MART.COM USA, LLC, The Home
Depot, Inc., Williams-Sonoma, Inc, Hardwood
Solutions LLC and Overstock.com, Inc.
             Defendant(s).
 __________________________________/

             DISCLOSURE OF CORPORATE AFFILIATIONS AND FINANCIAL INTEREST

                                                                                                        MDV Photo LLC
 Pursuant to Federal Rule of Civil Procedure 7.1,                                  ________________________________
                                                                                                            (Party Name)
 makes the following disclosure:

            1. Is party a publicly held corporation or other publicly held entity?                                          Yes   ✔ No

            2. Does party have any parent corporations?          Yes ✔ No
               If yes, identify all parent corporations, including grandparent and great-grandparent
               corporations:




            3. Is 10% or more of the stock of party owned by a publicly held corporation or other
               publicly held entity?      Yes ✔ No
               If yes, identify all such owners:




            4. Is there any other publicly held corporation or other publicly held entity that has a direct
               financial interest in the outcome of the litigation?    Yes ✔ No
               If yes, identify entity and nature of interest:




                     July 16, 2024                                                                       /s/ Craig Sanders
 Date: ________________________                                                  ___________________________________
                                                                                                              (Signature)

                                                                                             Craig Sanders, Esq.
                                                                                             Sanders Law Group
                                                                                             333 Earle Ovington Blvd, Suite 402
                                                                                             Uniondale, NY 11553
                                                                                             Tel: (516) 203-7600
                                                                                             Email: csanders@sanderslaw.group
